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              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         VICTORIA DIVISION

                               §
 In re:                        §
                               §             CIVIL ACTION 6:23-cv-00002
 ARTHUR J. BRASS               §
                               §
   Debtor.                     §             ADVERSARY NO. 21-06006
 _____________________________ §
 VITOL, INC.                   §
   Plaintiff/Appellee,         §
                               §
      v.                       §
                               §
 ARTHUR J. BRASS               §
   Defendant/Appellant.        §
                               §


       APPELLANT BRASS’ DESIGNATION OF ITEMS TO BE
  INCLUDED IN RECORD ON APPEAL AND STATEMENT OF ISSUES

      Arthur Brass (“Brass” or “Appellant”), having filed a timely Notice Of Appeal
on January 4, 2021 (Adversary Docket #210), hereby designates the following items
for inclusion in the record on appeal, and sets forth a statement of the issues he
intends to present in the appeal:
DESIGNATION OF CONTENTS OF RECORD
   1. Docket for Adversary 21-06006;
   2. Notice Of Appeal (Docket #210);
   3. Defendant’s Motion For Summary Judgment, with exhibits (Docket #58);
   4. Order Granting In Part And Denying In Part Motion For Summary Judgment
      (Docket #79) entered June 24, 2022 (the “MSJ Order”);
   5. Judgment And Order (Docket #208) entered December 21, 2022 (the “Final
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        Judgment”);
     6. Trial Transcript, (Docket #145);
     7. Trial Transcript, (Docket #147);
     8. Trial Transcript, (Docket #148);
     9. Trial Transcript, (Docket #152);
     10.Trial Transcript, (Docket #161);
     11.Trial Transcript, (Docket #165);
     12.Trial Transcript, (Docket #200);
     13.Trial Transcript, (Docket #205);
     14.Plaintiff’s Admitted Trial Exhibits;
     15.Defendant’s Admitted Trial Exhibits.


STATEMENT OF ISSUES
1.      Did the Bankruptcy Court err in determining that the prepetition settlement
and release between the parties did not preclude Appellee from seeking
determination of nondischargeability of the debt?
2.      Did the Bankruptcy Court err in determining that the prepetition settlement
and release did not operate as a novation?
3.      Did the Bankruptcy Court err in determining that the prepetition settlement
and release did not resolve the issue of fraud, precluding the issue from a later claim
of nondischargeability?
4.      Did the Bankruptcy Court err in determining that there was a debt subject to
nondischargeability?
5.      Did the Bankruptcy Court err in finding actual fraud?
6.      Did the Bankruptcy Court err in determining the debt nondischargeable as
actual fraud pursuant to 523(a)(2(A)?
7.      Did the Bankruptcy Court err in determining the debt nondischargeable as a
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willful and malicious injury pursuant to 523(a)(6)?


Dated: January 18, 2023.
                                             Respectfully submitted,

                                              By: /s/Johnie Patterson
                                              Johnie Patterson
                                              SBN 15601700
                                              Miriam Goott
                                              SBN 24048846
                                              ATTORNEY FOR APPELLANT
      OF COUNSEL:
      Walker & Patterson, P.C.
      P.O. Box 61301
      Houston, TX 77208-1301
      (713)956-5577 Phone
      (713)956-5570 Fax


                           CERTIFICATE OF SERVICE


        I, Johnie Patterson, hereby certify that a true and correct copy of the
        foregoing Amended Designation was served upon all parties receiving
        electronic notice pursuant to the Courts CM/ECF notice system, including
        the Appellees, on January 18, 2023.

                                               /s/Johnie Patterson
                                              Johnie Patterson
